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     Nevada Bar No. 7531
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 3   Las Vegas, Nevada 89144
 4   Telephone: (702) 602-1242
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 5
     [Proposed] Co-Counsel for
 6   Debtor and Debtor In Possession
 7
                               UNITED STATES BANKRUPTCY COURT
 8
                                         DISTRICT OF NEVADA
 9
       In re:                                              Case No. BK-22-11249-abl
10
11              NUVEDA, LLC, a Nevada limited              Chapter 11 (Subchapter V)
                liability company,
12                                 Debtor.
                                                           NOTICE OF HEARING ON DEBTOR’S
13                                                         MOTION TO ENFORCE AUTOMATIC
                                                           STAY AND FOR SANCTIONS UNDER
14                                                         SECTION 105(a) OF BANKRUPTCY
                                                           CODE
15
                                                           Hearing Date: August 3, 2022
16                                                         Hearing Time: 1:30 p.m.
17
18
            NOTICE IS HEREBY GIVEN that on June 22, 2022, NuVeda, LLC, a Nevada limited
19
     liability company (the “Debtor”), debtor and debtor in possession in the above-referenced chapter 11
20
21   bankruptcy case (the “Chapter 11 Case”), filed its Motion to Enforce the Automatic Stay and for

22   Sanctions under Section 105(a) of the Bankruptcy Code (the “Motion”) and the Declaration of

23   Mitchell Stipp (the “Stipp Declaration”), proposed counsel for the Debtor, in support of the Motion.
24
            By the Motion, Debtor has applied to the Court for entry of an order prohibiting Dotan Melech,
25
     the receiver appointed over CW Nevada, LLC, in Case No. A-17-755479-B, currently pending in
26
     Department 13 of the Eighth Judicial District Court, Clark County, State of Nevada, from seeking the
27
     production of a transcript of a purported conversation between Brian Padget and Joseph Kennedy,
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     during the time this Chapter 11 Case is pending (or until further ordered by this Court). The Debtor
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 2   further requests that the Court order Mr. Melech to appear and show cause why he should not be held

 3   in contempt for violating the automatic stay.

 4
 5
              NOTICE IS FURTHER GIVEN that if you do not want the Court to grant the relief sought
 6
     in the Motion, or if you want the Court to consider your views on the Motion, then you must file an
 7
     opposition, objection or other responsive pleading with the Court, and serve a copy on the person
 8
     making the Motion and the applicable notice parties no later than fourteen (14) days preceding the
 9
10   hearing date of the Motion. The opposition, objection or other responsive pleading must state your

11   position, set forth all relevant facts and legal authority, and be supported by affidavits or declarations
12   that conform to Local Rule 9014(d).
13
14
              If you object to the relief requested, you must file a WRITTEN response to this pleading with
15
     the court. You must also serve your written response on the person who sent you this notice.
16
17            If you do not file a written response with the court, or if you do not serve your written response

18   on the person who sent you this notice, then:

19            *      The court may refuse to allow you to speak at the scheduled hearing; and
20
              *      The court may rule against you without formally calling the matter at the hearing.
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     ///
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 2           NOTICE IS FURTHER GIVEN that the hearing on the Motion will be held telephonically

 3   before a United States Bankruptcy Judge, in the Foley Federal Building, 300 Las Vegas Boulevard

 4   South, Bankruptcy Courtroom No. 1, Las Vegas, Nevada 89101, on August 3, 2022 at the hour of
 5
     1:30 p.m, as follows:
 6
             Phone Conference Number: (888) 684-8852
 7
             Access Code/Passcode: 8242009#
 8
 9
10   DATED June 22, 2022.

11
     LAW OFFICE OF MITCHELL STIPP, P.C.
12
13   By:     /s/Mitchell Stipp
           MITCHELL STIPP, ESQ.
14         Nevada Bar No. 7531
           1180 N. Town Center Drive, Suite 100
15         Las Vegas, Nevada 89144
16
     [Proposed] Co-Counsel for Debtor and Debtor in Possession
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